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     MARIA HERNANDEZ
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 11-097 KJM
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   MARIA HERNANDEZ,                                    RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable KIMBERLY J. MUELLER
16
17             Defendant, MARIA HERNANDEZ by and through her attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On November 9, 2013, this Court sentenced Ms. Hernandez to a term of 87

25   months imprisonment;

26             3.         Her total offense level was 33, her criminal history category was I, the resulting

27   guideline range was 135 to 168 months, and she received a reduction from the low end of the

28   applicable guideline range on the government’s motion;

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Ms. Hernandez was subsequently lowered by
2    the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Ms. Hernandez’s total offense level has been reduced from 33 to 31, and her
5    amended guideline range is 108 to 135 months; a reduction comparable to the one received at the
6    initial sentencing would produce a term of 71 months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Ms. Hernandez’s term of imprisonment to 71 months.
9    Respectfully submitted,
10   Dated: January 30, 2015                            Dated: January 30, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           MARIA HERNANDEZ
16
17                                                     ORDER
18             This matter came before the Court on the stipulated motion of the defendant for reduction
19   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
20             The parties agree, and the Court finds, that Ms. Hernandez is entitled to the benefit
21   Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended
22   guideline range of 108 to 135 months. A reduction comparable to the one received at the initial
23   sentencing would produce a term of 71 months.
24             IT IS HEREBY ORDERED that the term of imprisonment imposed in November 2013 is
25   reduced to a term of 71 months.
26             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
27   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
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1    reduction in sentence, and shall serve certified copies of the amended judgment on the United
2    States Bureau of Prisons and the United States Probation Office.
3              Unless otherwise ordered, Ms. Hernandez shall report to the United States Probation
4    Office within seventy-two hours after her release.
5    Dated: February 4, 2015.
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7                                                   UNITED STATES DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction      3
